                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 TENNESSEE RIVERKEEPER, INC.,                  )
                                               )
        PLAINTIFF,                             )
                                               )
 v.                                            )   Case No. 3:23-cv-01369
                                               )
 CITY OF LEBANON, TENNESSEE,                   )   JURY TRIAL DEMANDED
                                               )
        Defendant,                             )
                                               )


                  NOTICE OF SETTLEMENT AND MOTION TO STAY


       Pursuant to the Court’s Order staying this case for 90 days (Doc. No. 31), Defendant, City

of Lebanon, Tennessee (the “City”), and Plaintiff, Tennessee Riverkeeper, Inc. (“Riverkeeper,”

and collectively, the “Parties”), hereby give notice that, subject to final approval by the City

Council of the City of Lebanon, the parties have reached an agreement in principle to settle the

claims asserted by Riverkeeper.

       The proposed settlement will include non-monetary provisions requiring the City to

undertake certain actions, including the completion of a significant project at the City’s

Landfill. The proposed agreement will also include a monetary payment to Riverkeeper of

$33,657.40, which represents an amount equal to or less than costs and fees incurred by

Riverkeeper in connection with this lawsuit.

       The parties are working in good faith to finalize the proposed settlement. Before it can be

finalized, the City must secure final approval by the City Council, which process the City expects

to be completed no later than May 30, 2025. To allow sufficient time for the City Council to




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approve the settlement and for the Parties to prepare a consent decree, the Parties respectfully

request that the Court stay this action through June 23, 2025.

                                           Respectfully submitted,

                                           /s/ Mark E. Martin (with permission)
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                                           /s/ Caroline D. Spore
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2025, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the below:

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                                             /s/ Caroline D. Spore
                                             Caroline D. Spore




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